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                                 EXPERT FEE SCHEDULE

   Fatal dog bite investigations, bite consultation, use of force review, dangerous dog, shelter audit
   and assistance: all cases are billed as follows:

   Initial investigation, review of facts, consultations, and all other duties through the issuance of a
   final incident/investigation report, except for travel and lodging is at a flat rate of $5000.00, to
   be paid at a rate of $2500.00 at acceptance of the case and $2500.00 at case conclusion unless
   otherwise negotiated (usually for Government billing procedures).

   Depositions for opposing counsel are billed at $200.00 per hour, three (3) hour minimum
   payment. Preparation for deposition is billed as two hours ($400.00) for a total minimum
   deposition fee of $1000.00. Payment for deposition by opposing counsel is expected within
   thirty (30) days of the deposition. Cancellation of deposition by opposing counsel with less than
   48 hours’ notice will be billed the two-hour preparation fee.

   Air travel will be in standard (not Basic Economy or its equivalent) Coach or better class as
   agreed upon. Bag fees may apply as expenses, depending on airline. Separate seat upgrades are
   the responsibility of the expert and are not part of billed travel expenses.

   Dangerous Dog evaluations, which include separate hands-on behavioral evaluation and report
   of observations and recommendations including video of the evaluation are $1000.00 per dog
   plus travel if needed.

   Court testimony, if needed, is billed at $1,000.00 per day of testimony plus travel and lodging
   expenses. If desired by the client, one day pre-trial preparation, and any other days of
   observation and attendance at non-testimony days as an advisor to counsel will be billed at
   $500.00 per day.

   Checks should be payable to Canine Aggression Consulting LLC.



   Respectfully,

   James W. Crosby
   Jacksonville, FL
